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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10                                        OAKLAND DIVISION
11
     IN RE: CATHODE RAY TUBE (CRT)                        Master File No. 07-CV-5944-JST
12   ANTITRUST LITIGATION
     ____________________________________                 MDL No. 1917
13
     This Document Relates to:                            INDIRECT PURCHASER PLAINTIFFS’
14                                                        AND DIRECT PURCHASER PLAINTIFFS’
     ALL DIRECT PURCHASER ACTIONS                         OPPOSITION TO DEFENDANTS IRICO
15                                                        GROUP CORP. AND IRICO DISPLAY
     ALL INDIRECT PURCHASER ACTIONS
                                                          DEVICES CO., LTD.’S EMERGENCY
16                                                        MOTION FOR RELIEF FROM
                                                          SCHEDULING ORDER
17

18                                                        Date: August 11, 2022
                                                          Time: 2:00 p.m.
19                                                        Judge: Hon. Jon S. Tigar
                                                          Courtroom: 6, 2nd Floor
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     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                  LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1
            Indirect Purchaser Plaintiffs (“IPPs”) and Direct Purchaser Plaintiffs (“DPPs”) (together
 2
     “Plaintiffs”) hereby oppose Irico Group Corporation’s and Irico Display Devices Co., Ltd.’s
 3
     Emergency Motion for Relief from Scheduling Order, ECF No. 6027 (the “Motion”).
 4
                                           I.     INTRODUCTION
 5
            Irico fails to demonstrate good cause to modify the schedule. Irico’s witnesses were under
 6
     Court Order to appear for deposition by June 30, 2022—a date which Irico (and presumably the
 7
     witnesses) agreed to, and which had already been extended by stipulation three times—yet they
 8
     failed to appear and Irico waited until the eleventh hour to request relief.
 9
            As the Court observed at the July 5, 2022 Case Management Conference (“July 5 CMC”),
10
     the quarantine restrictions to which Irico’s witnesses are objecting—and which Irico is attempting
11
     to use to justify its fourth extension of the schedule—have been in effect since July 2021. In other
12
     words, these quarantine restrictions were in effect on each of the three prior occasions that Irico
13
     agreed to produce these witnesses. Moreover, Irico has been aware all along that its witnesses were
14
     reluctant to subject themselves to China’s quarantine restrictions, and it may even have known that
15
     Mr. Su would refuse to travel when it stipulated to produce him for deposition. In addition, even
16
     though Irico knew by at least June 8, 2022 that the witnesses were refusing to appear for their
17
     depositions, Irico inexplicably waited until the Court-ordered deadline for producing them to seek
18
     relief from the Court’s scheduling Order. Thus, Irico fails to demonstrate good cause to modify the
19
     schedule because (1) the quarantine restrictions and the witnesses’ refusal to travel are not
20
     “unexpected difficulties,” (2) Irico cannot show that it was diligent in creating a workable schedule
21
     at the outset, and (3) Irico was not diligent in seeking relief from the Court’s scheduling Order.
22
            Irico’s Motion should also be denied because it provides no reason to believe that China
23
     will eliminate its quarantine requirements in the next six months so that Irico’s witnesses would
24
     agree to travel. In fact, if past is prologue, COVID-19 cases are likely to increase during the fall
25
     and winter months, as they did in 2020 and 2021, leading to even more stringent quarantine
26
     restrictions in the fall of this year than those which currently exist. Ultimately, as Irico’s own
27
     authorities recognize, “[t]he COVID-19 uncertainties that pervade our society are reasons to accept
28
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
     the status quo as the new normal and move ahead with [the litigation] now, as opposed to putting
 2
     the [litigation] off indefinitely and wishing in earnest for a better future[.]” United States v.
 3
     Berglund, No. 20-cr-00200 (SRN/TNL), 2021 WL 1589548, at *2 (D. Minn. Apr. 23, 2021).
 4
              Finally, Irico ignores the prejudice to Plaintiffs caused by their seriatim extensions of the
 5
     schedule and the delay and additional expense they entail. As a result of Irico’s delays, IPPs lost
 6
     their January 2023 trial date; one of the only Irico witnesses with knowledge of the conspiracy has
 7
     resigned; and, Plaintiffs have repeatedly lost time and money preparing for depositions, and held
 8
     their schedules open to take the depositions, only to be informed at the last minute that the
 9
     witnesses are refusing to appear.
10
              In sum, Irico’s Motion for relief from the Scheduling Order should be denied.
11
                                       II.     STATEMENT OF FACTS
12
              Plaintiffs have sought the deposition testimony of Irico witnesses Wang Zhaojie (“Mr.
13
     Wang”), Su Xiaohua (“Mr. Su”) and Yan Yunlong (“Mr. Yan”) based on their personal knowledge
14
     and Irico’s representations that they are the only current employees with relevant knowledge. 1 Irico
15
     has stated in its interrogatory answers that Messrs. Wang and Su have knowledge regarding three
16
     important affirmative defenses asserted in its Answer:
17
              -   Its Third Affirmative Defense, which asserts that Plaintiffs’ claims are barred because
18
                  the alleged conduct occurred outside the jurisdiction of the Court or was neither
19
                  directed to nor affected persons, entities, trade or commerce in the U.S.;
20
              -   Its Eighth Affirmative Defense, which asserts that Irico’s pricing of CRTs was
21
                  compelled by the Chinese government; and
22

23

24

25

26   1
      Plaintiffs disagree that Messrs. Wang and Su are the only Irico employees with relevant
     knowledge. Plaintiffs noticed the depositions of three other current Irico executives. Irico refuses to
27   produce them on the basis of the so-called “apex” doctrine. On January 26, 2022, Plaintiffs filed a
     motion to compel their depositions. It is fully briefed and pending before Judge Walker.
28
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                      LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1
              -   Its Tenth Affirmative Defense, which asserts that Irico’s conduct was “cost justified or
 2
                  otherwise economically justified and resulted from a good faith effort to meet
 3
                  competition or market conditions.” 2
 4
     Plaintiffs first requested the depositions of Messrs. Wang and Su on August 26, 2021. 3
 5
              The testimony of Mr. Yan is likewise important. Irico identified him as the sole source of
 6
     the information provided in its interrogatory answers regarding its failure to implement an adequate
 7
     litigation hold after it was served with the IPPs’ Complaint in December 2007, and its failure to
 8
     preserve relevant information from loss or destruction 4 – a topic on which Plaintiffs intend to file a
 9
     motion for sanctions.
10
              Plaintiffs’ efforts to depose these witnesses have been unsuccessful. Irico has repeatedly
11
     promised to produce them, but it has not done so. Irico’s Motion is just the latest chapter in a long
12
     story of delay and frustration.
13
              Indeed, this is the fourth time Irico has agreed to produce these witnesses but has failed to
14
     do so. And it is the fourth time Irico has sought an extension of the deadline by which these
15
     witnesses were required to submit to a deposition. This time, however, Irico requests that the Court
16
     relieve it from any consequences of its failure to meet that deadline, and to extend IPPs’ pretrial
17
     schedule, including the deadline to depose these witnesses, by approximately six months.
18
              Each time Irico has sought an extension, it has done so on the grounds that COVID-19 and
19
     travel restrictions complicated the witnesses’ ability or willingness to appear or prevented them
20
     from appearing. On each occasion, Plaintiffs worked in good faith to accommodate the asserted
21
     concerns and needs of Irico and the witnesses. But each time Plaintiffs agreed to the requested
22
     accommodation, Irico has shifted the goal posts.
23

24
     2
25     See Declaration of Lauren C. Capurro, filed herewith (“Capurro Decl.”), ¶ 2, Ex. A (Irico Defs.’
     Obj. and Resps. To IPPs’ Fourth Set of Interrogs., Resp. to Interrogatory No. 7).
26   3
       Declaration of Evan Werbel in Support of Emergency Motion for Relief from Scheduling Order
     (“Werbel Decl.”), Ex. 1.
27   4
       See Capurro Decl. ¶ 3, Ex. B (Irico Defs.’ Suppl. Objs. & Resps. to IPPs’ Third Set of Interrogs.,
28   Resp. to No. 2, Issue No. 4).
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                      LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1            A.     The Effort To Schedule Depositions In Hong Kong In December 2021
 2            When Plaintiffs noticed the depositions of Messrs. Su and Wang for December 2021 in San

 3   Francisco, Irico’s counsel, in a November 2, 2021 letter, argued that remote depositions in Hong

 4   Kong were more appropriate, and emphasized that the witnesses were willing to endure the

 5   required quarantine:

 6                   To be clear, Mr. Wang and Mr. Su are willing to sit for the requested
                     depositions if they are held in Hong Kong, which would necessitate a
 7                   mandatory two- to three-week quarantine upon their return to Mainland
 8                   China.
     Werbel Decl., Ex. 2 (emphasis added). Based on these representations, Plaintiffs agreed to take the
 9
     depositions remotely in Hong Kong in December 2021. But Irico delayed in providing dates for the
10
     depositions or in taking any steps to schedule the depositions. Werbel Decl. Ex. 4 (Nov. 18, 2021
11
     letter stating that, “. . . Irico is working with Messrs. Wang Zhaojie and Su Xiaohua regarding their
12
     availability for depositions and will provide dates as soon as possible.”).
13

14            B.     Postponement Of The Hong Kong Depositions
              Then, on December 3, 2021—as soon as news about the Omicron variant hit the press, and
15
     even though the daily number of COVID-19 cases in Hong Kong was extremely low 5—Plaintiffs
16
     received a letter from Irico’s counsel stating that the witnesses were unwilling to travel to Hong
17
     Kong for their depositions. Werbel Decl. Ex. 5 (Dec. 3, 2021 letter at 1, stating: “As you know we
18
     had planned to offer these witnesses in Hong Kong for remote depositions in December. Both Mr.
19
     Wong [sic] and Mr. Su remain willing to be deposed but are very concerned that travel may
20
     result in exposure to the coronavirus and about the severe quarantine requirements they
21
     would face.”) (emphasis added). Irico proposed a six-month extension of IPPs’ pretrial schedule to
22
     “give the parties the best chance to complete these depositions, which is what all parties want. In
23
     that time, we hope to be able to either produce the witnesses in Hong Kong or to identify a way of
24
     conducting the depositions remotely and lawfully from China.” Id. at 2.
25

26

27   5
      See https://www.info.gov.hk/gia/general/202112/03/P2021120300475.htm ("A total of 50 cases
     have been reported in the past 14 days (November 19, 2021 to December 2, 2021) and all of them
28   are imported cases.")
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
            Plaintiffs agreed to extend the January 14, 2022 discovery cut-off to March 18, 2022 to
 2
     permit the depositions of Messrs. Wang and Su to be taken. The Court approved the stipulated
 3
     extension. ECF No. 5980.
 4
            C.      Further Postponement Of The Depositions And A Change Of Venue To
 5                  Macau
 6          Six weeks later, on February 24, 2022, Irico again informed Plaintiffs that the depositions

 7   could not proceed by the Court-ordered deadline because Messrs. Wang and Su were apparently

 8   unable to get visas for Hong Kong due to a COVID-19 surge. Werbel Decl. Ex. 6. Irico sought

 9   another extension of time and that the depositions would take place remotely in Macau rather than

10   Hong Kong. Werbel Decl. Ex. 8. Once again, Plaintiffs cooperated, agreeing to extend the deadline

11   to May 31, 2022. ECF No. 5997. Irico also agreed to add Mr. Yan to the list of those who would be

12   deposed. Id. at 1; Werbel Decl., Ex. 7. Again, the Court approved the parties’ stipulation and

13   extended the deadline. ECF No. 5999.

14          D.      A Further Postponement Of The Depositions Results In Delays
                    To IPPs’ Schedule And Trial Date
15
            The May 31, 2022 deadline for the depositions likewise proved unworkable because Irico
16
     was apparently unable to timely obtain visas to Macau. Werbel Decl., Ex. 9. Irico had represented
17
     to Plaintiffs that it expected to be able to produce its witnesses beginning the third week of May.
18
     However, because of visa delays, Irico represented that it would not be able to do so until the
19
     beginning of June. Capurro Decl. ¶¶ 4-7, Exs. C-F. Accordingly, Plaintiffs agreed once again to
20
     extend the deadline to take the depositions until June 30, 2022. The parties submitted their
21
     stipulation to that effect on May 20, 2022. See ECF No. 6015.
22
            The repeated continuances of the deposition deadline ultimately required the postponement
23
     of certain other deadlines. Thus, the parties’ May 20, 2022 stipulation not only extended the
24
     deposition deadline, it also moved the dispositive motion deadline to July 25, 2022, and continued
25
     the trial date from January to February 2023. Id. However, the Court moved the trial date to March
26
     2023 (ECF No. 6016), which conflicted with IPPs’ lead trial counsel’s trial in another case. ECF
27

28
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                  LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1
     No. 6020. The trial date was therefore continued to July 24, 2023, the earliest date suitable for both
 2
     sides and the Court. ECF No. 6024.
 3
              In short, Irico persuaded Plaintiffs to agree to each of these extensions of the schedule by
 4
     promising that the witnesses would appear by a date certain. Then, at the last minute that the
 5
     witnesses could not appear, and that a further one- or two-month extension was required. Yet, here
 6
     we are, more than six months after the date when the depositions were supposed to take place, and
 7
     the witnesses still have not appeared.
 8
              E.     Irico Gives Notice That Mr. Su Has Resigned And Will Not Appear
 9
              The ink was barely dry on the Stipulation and Order extending the deposition deadline to
10
     June 30, 2022 and continuing IPPs’ trial date (ECF No. 6016) when Irico informed Plaintiffs on
11
     June 7, 2022 that Mr. Su had resigned and was no longer available to sit for a deposition. Werbel
12
     Decl. Ex. 9.
13
              The Declaration of Zhang Wenkai, ECF No. 6027-3 (“Zhang Decl.”), raises questions about
14
     whether Irico knew Mr. Su’s resignation was imminent when the parties filed their May 20, 2022
15
     stipulation extending the deposition deadline to June 30, 2022. ECF No. 6015. Mr. Zhang’s attests
16
     that Mr. Su “formally resigned” on May 25th—only five days after the May 20th stipulation. Zhang
17
     Decl. ¶ 6. Notably, Mr. Zhang does not state when he first became aware that Mr. Su planned to
18
     resign or when he learned of Mr. Su’s formal resignation. He does concede, however, that he was
19
     in contact with Su in May 2022. See id. ¶ 5. Irico’s counsel was similarly vague when asked when
20
     Irico learned that Mr. Su intended to resign, stating only that Mr. Su had “expressed reservations
21
     about quarantine obligations” in April and May 2022. 6 In addition, Irico waited over two weeks
22
     after Su’s formal resignation to inform Plaintiffs that he had resigned (Su formally resigned on
23
     May 25th (Zhang Decl. ¶ 6), but Irico did not inform Plaintiffs of the resignation until June 7
24
     (Werbel Decl. Ex. 9)). Given this, and the fact that Mr. Zhang was in contact with Su, Irico may
25
     have known that Mr. Su’s resignation was imminent when it entered into the May 20th stipulation
26
     extending IPPs’ schedule, but chose not to disclose that fact to either Plaintiffs or the Court.
27
     6
28       See Capurro Decl. ¶ 8, Ex. G (June 22, 2022 email from Evan Werbel).
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
              Plaintiffs repeatedly pressed Irico to schedule the depositions, but Irico never provided
 2
     Plaintiffs with any firm dates. See, e.g., Werbel Decl. Ex. 7; Capurro Decl., ¶ 13. Despite not
 3
     knowing when exactly the depositions would take place, Plaintiffs’ counsel had to prepare to take
 4
     the depositions, which included paying for certified translations of potential deposition exhibits.
 5
     Plaintiffs’ counsel held their schedules open from mid-May through August and canceled summer
 6
     vacation travel to be available to take the depositions and respond to Irico’s summary judgment
 7
     motions, which are currently due by July 25th. Id. ¶¶ 13-14.
 8
              F.     Irico Allows The June 30 Deadline To Pass And Files This Emergency
 9                   Motion
10            On June 14, 2022, Irico’s counsel informed Plaintiffs that Mr. Wang and Mr. Yan had

11   refused to appear for a deposition by the June 30, 2022 deadline because they were unwilling to

12   comply with China’s COVID-19 quarantine restrictions. Werbel Decl. Ex. 10. Irico requested

13   Plaintiffs agree to yet another six-month postponement of the deposition deadline. Id. Exs. 10 &

14   12.

15            Plaintiffs responded that they could not agree to a further six-month extension and

16   demanded that Irico produce the witnesses by July 22, 2022. Id. Ex. 11. In a June 29, 2022 meet-

17   and-confer call, Plaintiffs reiterated that they would not agree to a six-month extension but

18   indicated that they would agree to a continuance of the June 30 deadline, but only if the stipulated

19   order postponing the deadline (1) set specific dates within one to two months of June 30 for the

20   depositions, and (2) provided that Irico would suffer adverse consequences if the witnesses did not

21   appear on the specified dates. 7 Irico demurred. On June 30, 2022, Irico filed its Emergency Motion

22   seeking a six-month extension of the deadline that expired that very day.

23   ///

24   ///

25

26
     7
       Capurro Decl. ¶ 9, Ex. H (June 29, 2022 email proposing that “that Wang and Yan could not
27   testify at trial if they do not make themselves available by that date certain; and . . . that Irico may
     not move for summary judgment on issues about which Wang and Yan are knowledgeable unless
28   and until they are deposed.”).
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                      LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1                                          III.    ARGUMENT
 2          A.      Legal Standard
 3          As this Court has previously held, it is well-settled that, pursuant to Fed. R. Civ. P.

 4   16(b)(4), “[s]cheduling orders ‘may be modified only for good cause and with the judge’s

 5   consent[.]’” Pretrial scheduling orders may only be modified if the dates scheduled “‘cannot

 6   reasonably be met despite the diligence of the party seeking the extension.’ The focus of the good

 7   cause inquiry is ‘on the moving party’s reasons for seeking modification. If that party was not

 8   diligent, the inquiry should end.’” In re Cathode Ray Tube (CRT) Antitrust Litig., No. C-07-5944-

 9   SC, 2014 WL 4954634, at *2 (N.D. Cal. Oct. 1, 2014) (quoting Johnson v. Mammoth Recreations,

10   Inc., 975 F.2d 604, 609 (9th Cir. 1992)).

11          This Court explained the rationale for the focus on the moving party’s diligence thusly:

12                  The purpose of the good cause standard and the focus on diligence under
                    Federal Rule of Civil Procedure 16(b)(4) is twofold. First, analyzing whether
13
                    good cause exists to vary a deadline allows the court to balance the need for
14                  certainty in case management against the unexpected difficulties that often
                    arise in complying with case scheduling. . . . Second, centering the good cause
15                  analysis on the moving party’s diligence prevents parties from profiting from
                    carelessness, unreasonability, or gamesmanship, while also not punishing
16                  parties for circumstances outside their control. Accordingly, if a party ‘fails
17                  to heed repeated signals,’ waits until the eleventh hour for tactical reasons,
                    or otherwise acts carelessly or in bad faith, courts are unlikely to vary the
18                  applicable schedule.

19   CRT, 2014 WL 4954634, at *2-3 (citations and internal quotation marks omitted; emphases added).

20   See also In re Twitter, Inc. Sec. Litig., No. 16-CV-05314-JST, 2020 WL 4188787, at *4 (N.D. Cal.

21   May 19, 2020) (Tigar, J.) (“To demonstrate good cause under Rule 16, the party seeking leave to

22   amend must show it was diligent in assisting the Court to create a workable schedule at the outset

23   of litigation, that the scheduling order imposes deadlines that have become unworkable

24   notwithstanding its diligent efforts to comply with the schedule, and that it was diligent in seeking

25   the amendment once it became apparent that extensions were necessary.”) (citations and internal

26   quotation marks omitted); Oracle Am., Inc. v. Hewlett Packard Enter. Co., No. 16-CV-01393-JST,

27   2019 WL 468809, at *4 (N.D. Cal. Feb. 6, 2019) (Tigar, J.) (quoting Wong v. Regents of Univ. of

28   Cal., 410 F.3d 1052, 1062 (9th Cir. 2005) (denying motion to extend discovery deadlines because
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
     “the schedule was long known to all parties. A party’s preference for a different schedule than the
 2
     one actually imposed by the Court does not itself amount to ‘substantial justification’ for later
 3
     amendments to expert reports served in accordance with deadlines set by the Court. Similarly,
 4
     ‘[d]isruption to the schedule of the court and other parties in that manner is not harmless. Courts set
 5
     such schedules to permit the court and the parties to deal with cases in a thorough and orderly
 6
     manner, and they must be allowed to enforce them, unless there are good reasons not to.’”).
 7
              Ultimately, “[a] scheduling order is not a frivolous piece of paper, idly entered, which can
 8
     be cavalierly disregarded by counsel without peril.” Johnson v. Mammoth Recreations, 975 F.2d at
 9
     610 (citation and internal quotation marks omitted). “Disregard of the order would undermine the
10
     court’s ability to control its docket, disrupt the agreed-upon course of the litigation, and reward the
11
     indolent and the cavalier. Rule 16 was drafted to prevent this situation . . . .” Id. at 610. (citations
12
     omitted).
13
              B.     Irico Cannot Demonstrate Good Cause Justifying Relief From The
14                   Scheduling Order Because China’s Quarantine Restrictions Are Not
                     New And Irico Was Not Diligent In Seeking Relief
15
              Irico argues that there is good cause for its requested six-month extension of the schedule
16
     because Mr. Su has apparently resigned from Irico to avoid being deposed, 8 and Messrs. Wang and
17
     Yan “currently will not agree to travel to Macau to sit for remote depositions in [sic] midst of [sic]
18
     global pandemic given the severe quarantine restrictions that they will face upon their return to
19
     mainland China.” Motion at 2. Irico claims that Wang and Su “have indicated . . . that they are
20
     prepared to travel to Macau for depositions once the quarantine conditions are lifted.” Id.
21
                     1.      Neither The Quarantine Restrictions Nor The Witnesses’
22                           Refusal To Travel Are Unexpected Difficulties
23            Irico’s witnesses’ refusal to travel to Macau for their depositions due to China’s quarantine

24   restrictions—despite being required to do so by a Court Order to which Irico stipulated—falls far

25   short of establishing good cause to modify the schedule under Fed. R. Civ. P. 16 because neither

26   the quarantine restrictions nor the witnesses’ refusal to travel because of those restrictions are

27   “unexpected difficulties.” See In re Cathode Ray Tube (CRT) Antitrust Litig., 2014 WL 4954634,

28   8
         Capurro Decl. ¶ 8, Ex. G (Email dated June 22, 2022 from Evan Werbel).
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
     at *2 (“[A]nalyzing whether good cause exists to vary a deadline allows the court to balance the
 2
     need for certainty in case management against the unexpected difficulties that often arise in
 3
     complying with case scheduling.”) (emphasis added); In re Twitter, 2020 WL 4188787, at *4 (“To
 4
     demonstrate good cause under Rule 16, the party seeking leave to amend must ‘show it was
 5
     diligent in assisting the Court to create a workable schedule at the outset of litigation . . .’”)
 6
     (emphasis added).
 7
              As Irico’s counsel was forced to concede in response to the Court’s astute questioning at
 8
     the July 5 CMC, China’s quarantine restrictions have been in effect throughout the period that the
 9
     parties have been attempting to schedule these depositions. Indeed, they have been in effect since
10
     July 2021. 9 In other words, on each of the three occasions that Irico stipulated to a scheduling order
11
     requiring these witnesses to appear for deposition by a date certain (see ECF Nos. 5980, 5999,
12
     6016), the exact same quarantine restrictions that Irico is now using to justify extending the
13
     deadline—for a fourth time—were in effect.
14
              Moreover, Irico has been aware since at least November 2021 that its witnesses were
15
     reluctant to travel to be deposed and subject themselves to China’s quarantine requirements. On
16
     December 3, 2021, Irico’s counsel informed Plaintiffs that Messrs. Wang and Su were refusing to
17
     travel to Hong Kong for their depositions because they were “very concerned that travel may result
18
     in exposure to the coronavirus and about the severe quarantine requirements they would face.”
19
     Werbel Decl. Ex. 5 (December 3, 2021 letter from Evan Werbel) (emphasis added). Further,
20
     Irico’s counsel has admitted that Mr. Su expressed concerns regarding the quarantine restrictions
21
     again in April and May 2022. See Capurro Decl. ¶ 8, Ex. G (Email dated June 22, 2022 from Evan
22
     Werbel to Plaintiffs’ counsel, stating: “We understand that Mr. Su expressed reservations about
23
     quarantine obligations that would accompany traveling to Macau in April and May, but he
24
     continued to cooperate in the Visa application process during this time.”).
25

26   9
       See Werbel Decl. Ex. 10 (Werbel letter dated June 14, 2022 citing
27   http://sxwjw.shaanxi.gov.cn/sy/ztzl/fyfkzt/xwfbh/202107/t20210730_2185138_wap.html, which is
     a Chinese local government press release dated July 30, 2021 announcing a 21 + 7 day quarantine
28   after travel for the area in which Irico is located).
         PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
              Indeed, there is a significant question as to whether Irico knew that Mr. Su planned to resign
 2
     to avoid being deposed when it stipulated on May 20, 2022 to producing Mr. Su for deposition by
 3
     June 30, 2022. See ECF No. 6015. Mr. Zhang attests that he was in contact with Mr. Su (and the
 4
     other witnesses) in May 2022, but conspicuously does not state whether Mr. Su informed him that
 5
     he planned to resign, and if so, when he did so. Zhang Decl. ¶¶ 5-6. Irico’s counsel was similarly
 6
     vague in his June 22, 2022 email, and did not answer Plaintiff’s question regarding when Irico
 7
     learned that Mr. Su planned to resign. See Capurro Decl. Ex. G. It is hard to believe that a high-
 8
     level employee such as Mr. Su, who had worked for Irico for over 40 years, 10 simply resigned
 9
     without informing someone at Irico that he planned to do so—particularly when he was resigning
10
     to avoid being deposed in an important legal proceeding. Nor does Mr. Zhang state when he
11
     learned of Mr. Su’s May 25, 2022 “formal resignation.” Id. ¶ 6. This is significant because Irico
12
     inexplicably waited two weeks to inform Plaintiffs of Su’s resignation—two weeks during which
13
     Irico knew that Plaintiffs’ counsel believed they would be taking the deposition in mid-June and
14
     were preparing accordingly. Considering the fact that this was the fourth time that Irico had
15
     promised to produce these witnesses and then reneged at the eleventh hour, and that Irico is now
16
     proposing a further six-month extension to allow for depositions that it knows are unlikely to
17
     occur, these facts suggest that Irico is not proceeding in good faith.
18
              In light of the foregoing, Irico can hardly claim it was “unexpected” that these witnesses
19
     would refuse to travel due to the quarantine restrictions, or that it “was diligent in assisting the
20
     Court to create a workable schedule at the outset of litigation . . ..’” In re Twitter, 2020 WL
21
     4188787, at *4. Irico’s Motion should be denied on this basis alone.
22
                     2.      There Is No Reason To Believe That China’s Quarantine
23                           Restrictions Will Be Lifted In The Next Six Months Such
                             That These Witnesses Will Agree To Travel
24
              Irico also fails to demonstrate good cause to modify the schedule because it provides no
25
     reason to believe that China will reduce its quarantine requirements sufficiently to induce these
26

27   10
      Capurro Decl. ¶ 10, Ex. I (Mr. Su’s Personnel Record showing that he started working for Irico
28   Main CRT Plant in 1981).
      PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                   LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1
     witnesses to travel in the next six months. Irico merely asserts repeatedly that the witnesses “have
 2
     agreed to travel to Macau once the quarantine obligations are lifted” (e.g., Motion at 2, 5, 7), but it
 3
     is unclear what exactly that means. There are no declarations from the witnesses or other
 4
     information regarding what quarantine restrictions they would be willing to subject themselves to
 5
     (if any). Irico acknowledges that China’s quarantine restrictions have recently been reduced from
 6
     21 to 14 days in a Chinese facility plus seven days at home, yet they are apparently still too
 7
     restrictive for these witnesses because they are still refusing to travel. Motion at 7, n. 6.
 8
              Given that the quarantine restrictions have been in place for over a year, it is highly
 9
     unlikely that the restrictions will be lifted entirely in the next six months. COVID-19 is not going
10
     anywhere and, as Irico concedes, “China continues to promote a ‘Zero Covid’ policy[.]” Motion at
11
     4. The most likely scenario is that—due to China reopening and relaxing their quarantine
12
     restrictions somewhat, together with the natural increase in cases in the fall and winter months that
13
     occurred in 2020 and 2021—COVID-19 cases in China will rise again in the next six months,
14
     causing China to increase its quarantine restrictions again. In fact, the press is also reporting that
15
     Macau (where the depositions were supposed to take place) is experiencing its first COVID-19
16
     surge and that it has shut down all businesses except for supermarkets and others providing
17
     essential services. 11 In other words, by refusing to proceed with the depositions in June, Irico and
18
     its witnesses have once again squandered one of the least risky windows to take the depositions.
19
              Given all these uncertainties, it is difficult to judge the likelihood of whether these
20
     witnesses will ever agree to appear for their depositions, but it does not look favorable since it is
21
     unlikely that the quarantine restrictions will lift entirely. Despite this, Irico continues to push for
22
     another six-month extension of time to allow for these depositions. And even after this Court
23
     suggested at the July 5, 2022 CMC that there should be consequences if the witnesses continue to
24
     refuse to travel after any further extension of time, Irico will not agree to any such consequences,
25
     further demonstrating its disregard for Plaintiffs and the Court. Where, as here, “a party ‘fails to
26

27   11
       See https://www.reuters.com/world/china/macau-shuts-down-casinos-race-curb-covid-spread-
28   2022-07-11/.
      PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
     heed repeated signals,’ . . . or otherwise acts carelessly or in bad faith, courts are unlikely to vary
 2
     the applicable schedule.” CRT, 2014 WL 4954634, at *2-3 (citations omitted).
 3
                    3.      Irico Fails To Explain Why It Waited Until The June 30,
 4                          2022 Deadline To Seek Relief From The Scheduling Order
 5          “To demonstrate good cause under Rule 16, the party seeking leave to amend must ‘show . .

 6   . that it was diligent in seeking the amendment once it became apparent that extensions were

 7   necessary.’” In re Twitter, 2020 WL 4188787, at *4; CRT, 2014 WL 4954634, at *2-3

 8   (“Accordingly, if a party . . . waits until the eleventh hour for tactical reasons, or otherwise acts

 9   carelessly or in bad faith, courts are unlikely to vary the applicable schedule.”) (citations omitted).

10          Here, Irico has been aware since at least May 25, 2022 when Su “formally resigned” that he

11   would not appear for deposition. Zhang Decl. ¶ 6. Likewise, Irico has known since approximately

12   June 8, 2022 that Wang and Yan were refusing to appear. Id. ¶¶ 8-9. As soon as Irico informed

13   Plaintiffs on June 14, 2022 that the witnesses were refusing to travel, Plaintiffs made it very clear

14   that they would not agree to yet another extension of the deadline without there being some

15   consequences if the witnesses fail to appear again. See, e.g., Werbel Decl. Ex. 11 (Plaintiffs’ June

16   17, 2022 letter); Capurro Decl. Ex. H. Yet, Irico did not move for relief from the scheduling Order

17   until the “eleventh hour”—the Court-ordered June 30, 2022 deadline for producing the witnesses

18   for deposition. See ECF No. 6016. Irico inexplicably allowed the deadline to pass and is now in

19   violation of the Court’s Order. Irico’s cavalier attitude to the Court’s scheduling Orders and lack of

20   diligence in seeking relief is further reason to deny this Motion.

21                  4.      Irico’s Authorities Are Distinguishable
22          Irico cites only two cases in support of its broad assertion that “[c]ourts have repeatedly

23   recognized the legitimate concerns of witnesses regarding the COVID-19 pandemic and allowed

24   for accommodations or necessary extensions.” Motion at 8 (citing Aileron Inv. Mgmt., LLC v. Am.

25   Lending Ctr., LLC, No. 8:21-CV-146-MSS-AAS, 2022 WL 93573, at *2 (M.D. Fla. Jan. 10, 2022)

26   and United States v. Berglund, No. 20-cr-00200 (SRN/TNL), 2021 WL 1589548, at *2 (D. Minn.

27   Apr. 23, 2021)). While it is true that both courts granted accommodations due to the witnesses’

28   concerns regarding travel during the COVID-19 pandemic by ordering a remote deposition
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 1
     (Aileron), and continuing the trial date (Berglund), both courts also required that the cases proceed
 2
     with those accommodations.
 3
            Indeed, the Berglund court specifically rejected the defendant’s request for an indefinite
 4
     continuance of the trial in that case, finding that “the risk of contracting COVID-19 does not justify
 5
     a continuance” because “the court has gone to great lengths to protect participants at all in-person
 6
     judicial proceedings, and “the COVID-19 uncertainties that pervade our society are reasons to
 7
     accept the status quo as the new normal and move ahead with trial now, as opposed to putting the
 8
     trial off indefinitely and wishing in earnest for a better future. . ..” Berglund, 2021 WL 1589548, at
 9
     *1–2 (quoting United States v. Tagliaferro, No. 19-CR-472 (PAC), 2021 WL 1225990, at * 6
10
     (S.D.N.Y. Mar. 31, 2021)).
11
            Here, Plaintiffs and the Court have already accommodated Irico’s witnesses’ concerns
12
     regarding travel during the COVID-19 pandemic by agreeing to remote depositions and by
13
     agreeing to extend the schedule on three separate occasions. As in Berglund and Tagliaferro, the
14
     case cannot be stayed indefinitely in the hope that COVID-19 will disappear, China will lift its
15
     quarantine restrictions, and these witnesses will someday agree to travel and be deposed. That
16
     would be untenable; yet that is apparently what Irico is demanding. Rather, we must “accept the
17
     status quo as the new normal and move ahead” with the case. Berglund, 2021 WL 1589548, at *2.
18
            Est. of Boyles v. Gree USA, Inc., No. 1:20-CV-276, 2021 WL 3292727, at *5 (M.D.N.C.
19
     Aug. 2, 2021) is instructive. In that case, the court faced an almost identical situation to the present
20
     one: Chinese defendants were ordered to produce witnesses for remote deposition in Hong Kong
21
     several times and failed to do so due to the witnesses’ objections to China’s COVID-19 quarantine
22
     restrictions. Id. at *1-3. The court rejected the defendants’ concerns about the quarantine
23
     restrictions, emphasizing that they are merely inconveniences, not impossibilities, and did not
24
     justify the witnesses’ failure to appear for deposition:
25
                    The Court has been mindful of the inconvenience posed by travel restrictions
26                  throughout this litigation, see Text Order 12/30/2021, but as Judge Webster
27                  already determined, these restrictions are just that—inconveniences, not
                    impossibilities. Text Order 5/17/2021. As the Gree defendants acknowledged,
28                  a Rule 30(b)(6) witness could have travelled to Hong Kong or Singapore for
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 1                  the requested depositions. It is incumbent upon the defendants, not the
                    plaintiffs or the Court, to solve the problems arising from their decision to
 2                  operate their business in China or to demonstrate impossibility, and the Gree
 3                  defendants have done neither here.
     Id. at *7 (emphasis added); see also id. at *5 (“[I]t is not an option for a corporate defendant
 4
     in a foreign country to refuse to take the steps necessary to produce a Rule 30(b)(6) witness
 5
     merely because it will be expensive, inconvenient, or difficult. . .. This is especially so when
 6
     the court has been patient with the foreign corporation and extended the applicable deadline
 7
     several times; here, the extensions totaled four months.”).
 8
            Likewise here, Irico could have produced its witnesses in Hong Kong in December
 9
     2021, or Macau in June 2022. Despite being under a Court Order requiring the witnesses to
10
     be deposed by June 30, 2022, and despite having been granted a remote deposition
11
     accommodation and three extensions of time, Irico failed to produce the witnesses due to the
12
     inconvenience of having to submit to China’s COVID-19 quarantine restrictions, not because
13
     it was impossible to travel and be deposed.
14

15                  5.      Irico’s Motion Ignores The Prejudice To Plaintiffs Caused
                            By Its Seriatim Extensions Of The Schedule
16          Irico contends that its proposed six-month extension of the deadline to produce the
17   witnesses and IPPs’ schedule causes no prejudice to Plaintiffs. Motion at 10. Not so.
18          First, “[a]lthough the existence or degree of prejudice to the party opposing the
19   modification might supply additional reasons to deny a motion, the focus of the inquiry is upon the
20   moving party’s reasons for seeking modification. If that party was not diligent, the inquiry should
21   end.” Johnson v. Mammoth Recreations, Inc., 975 F.2d at 609. Here, as demonstrated above, Irico
22   was not diligent in attempting to meet the Court-ordered deadlines or in seeking relief from the
23   scheduling order. Thus, “the inquiry should end[,]” and Irico’s motion should be denied.
24          Second, “‘[d]isruption to the schedule of the court and other parties in that manner is not
25   harmless. Courts set such schedules to permit the court and the parties to deal with cases in a
26   thorough and orderly manner, and they must be allowed to enforce them, unless there are good
27

28
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
     reasons not to.’” Oracle Am., Inc. v. Hewlett Packard Enter. Co., 2019 WL 468809, at *4
 2
     (quoting Wong v. Regents of Univ. of Cal., 410 F.3d at 1062).
 3
            Third, the Est. of Boyles court found prejudice to plaintiffs and awarded sanctions against
 4
     the defendant under very similar circumstances:
 5
                    The defendants’ conduct has deprived the plaintiffs of the discovery needed
 6                  to advance their case since at least November 2020. The plaintiffs have been
 7                  unable to question a knowledgeable witness about the defendants’
                    representations about the safety of its products to compliance organizations,
 8                  the basis of their defenses, defense positions as to the plaintiffs’ damages, and
                    any related history of other product failures. . .. The defendants have
 9                  prejudiced the plaintiffs’ ability ‘to resolve their claims in a just, speedy, and
                    inexpensive manner,’ and their unexcused failure to appear at multiple
10
                    properly noticed Rule 30(b)(6) depositions leaves an evidentiary gap that
11                  justifies appropriate sanctions.”) (quoting Sines v. Kessler, No. 3:17-cv-
                    00072, 2021 WL 2309968, at *7 (W.D. Va. June 7, 2021)).
12
            Similarly here, Irico has deprived Plaintiffs of the discovery needed to advance their case
13
     since at least December 2021. Plaintiffs have been unable to question the only witnesses Irico
14
     claims have knowledge of the allegations in this case, and who Irico has specifically identified in
15
     its discovery responses as knowledgeable regarding its meetings with competitors and several of its
16
     affirmative defenses, as well as its failure to implement a proper litigation hold. Capurro Decl. ¶¶
17
     2-3, 11, Exs. A, B & J. Irico has prejudiced Plaintiffs’ ability “to resolve their claims in a just,
18
     speedy, and inexpensive manner,” Sines v. Kessler, 2021 WL 2309968, at *7, and their failure to
19
     appear at their Court-ordered depositions leaves an evidentiary gap that justifies appropriate
20
     sanctions. Plaintiffs intend to move for sanctions by separate motion.
21
            Finally, Irico’s seriatim extensions of the schedule ostensibly to accommodate these
22
     witnesses and allow their depositions to take place have most certainly prejudiced Plaintiffs. For
23
     example:
24
            •   Plaintiffs’ counsel have spent almost a year unsuccessfully attempting to negotiate the
25
                depositions of these witnesses, requiring innumerable meet and confers and multiple
26
                letters back and forth; negotiation and drafting of several stipulated scheduling orders;
27
                preparation for and appearance at Case Management Conferences to discuss scheduling,
28
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1
                only to have the schedule upended a few months later; and, now the research and
 2
                drafting this opposition brief—all of which has caused additional time and expense for
 3
                Plaintiffs. Capurro Decl. ¶ 12.
 4
            •   As a result of Plaintiffs attempting to accommodate Irico’s witnesses’ concerns and
 5
                extend the schedule to allow for the depositions to occur, IPPs lost their January 30,
 6
                2023 trial date, and now have a new trial date on July 24, 2023 (ECF No. 6024), which
 7
                means six additional months of unnecessary and expensive litigation.
 8
            •   An important witness, Mr. Su, has purportedly left Irico, and Irico apparently now
 9
                refuses to produce him for deposition at all.
10
            •   Plaintiffs’ counsel have had to prepare to take the depositions of these witnesses on four
11
                separate occasions (including identifying potential deposition exhibits; preparing
12
                deposition outlines; paying for certified translations of deposition exhibits; preparing a
13
                remote deposition protocol; working with court reporters, etc.), and hold their schedules
14
                open for long periods to be ready to take the depositions at Irico’s convenience (without
15
                ever being given exact dates by Irico), only to be informed at the last minute that the
16
                depositions were not going to happen for various reasons. Plaintiffs’ preparations for
17
                Mr. Su’s deposition will be of no use even if Irico produces other witnesses. Capurro
18
                Decl. ¶ 13.
19
            •   Plaintiffs’ counsel unnecessarily canceled summer vacation travel because the Court-
20
                ordered schedule (ECF No. 6016) provided that the period from June 2022 through
21
                August 2022 was to be spent taking depositions and responding to Irico’s summary
22
                judgment motions. Capurro Decl. ¶ 14.
23
     These concrete examples of prejudice to Plaintiffs and their counsel provide further reason to deny
24
     Irico’s motion.
25
     ///
26
     ///
27

28
      PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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 1           C.       Irico’s Cavalier Attitude To Its Litigation Obligations Is A
                      Recurrent Theme In This Case And Indicates That It Is Not
 2                    Proceeding In Good Faith
 3           Finally, Irico’s cavalier attitude to its obligations to this Court and Plaintiffs is a recurrent

 4   theme in this case, and provides necessary context for the Court in considering whether Irico’s

 5   conduct demonstrates bad faith. As demonstrated by the following examples, Irico’s conduct

 6   indicates that it has little respect for this Court or the Plaintiffs, and that its primary goal is to delay

 7   the litigation and block Plaintiffs’ attempts to prove their case. For example:

 8           •    Irico defaulted and disappeared from the litigation for over seven years and only

 9                reappeared in late 2017 to oppose the DPPs’ motion for a default judgment. In re

10                Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, Case No. C-07-5944 JST,

11                2018 WL 659084, at *8 (N.D. Cal. Feb. 1, 2018) (“[B]y refusing to appear and litigate

12                the case, the Irico Defendants have delayed resolution of the jurisdictional question for

13                ten years.”).

14           •    After Irico reappeared and the Court denied the motion for a default judgment (id.),

15                Irico wasted Plaintiffs’ and the Court’s time for eighteen months with their motions to

16                dismiss on foreign sovereign immunity grounds, which simply reargued arguments this

17                Court had already rejected. See ECF No. 5637 at 12 (criticizing Irico’s motion as “a

18                belated motion for reconsideration.”).

19           •    During jurisdictional discovery in 2018-2019, Irico Defendants successfully delayed the

20                depositions of their witnesses for six months. The depositions were originally scheduled

21                for September 2018 but were rescheduled for November 2018 because ten days before

22                the depositions, Irico unexpectedly produced 2000 pages of Chinese language

23                documents on which it intended to rely. See ECF No. 5653-1 ¶¶ 5-6, Exs. 3-4. The same

24                depositions then had to be put off again to March 4, 2019 because Irico claimed it could

25                not comply with the Court’s orders compelling discovery before the initial rescheduled

26                date. Id. ¶ 7, Ex. 5.

27           •    Next, within days of Irico’s March 2019 Rule 30(b)(6) deposition, Irico informed

28                Plaintiffs that its designated witness (Mengquan Guo) was unable travel to Hong Kong
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
                  LTD.’S EMERGENCY MOTION FOR RELIEF FROM SCHEDULING ORDER;
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 1
                for his deposition, apparently due to illness. ECF No. 5408 at 1. Irico’s substitute Rule
 2
                30(b)(6) witness (Zhaojie Wang) was unprepared and was unable to answer many of
 3
                Plaintiffs’ questions regarding the noticed topics. ECF No. 5640 at 24.
 4
            •   Irico then appealed this Court’s Order denying its motions to dismiss on FSIA grounds
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                (ECF No. 5650) but voluntarily dismissed the appeal after it was fully briefed (ECF No.
 6
                5861), successfully wasting another year and requiring Plaintiffs to expend valuable
 7
                resources.
 8
            •   During merits discovery, Plaintiffs have discovered that Irico failed to implement an
 9
                adequate litigation hold when it was served with the complaint in 2007 and, as a result,
10
                has destroyed most of its documents relevant to this litigation. Capurro Decl. ¶ 3, Ex. B.
11
            •   And most recently, as discussed herein, Irico has repeatedly induced Plaintiffs to agree
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                to extend the schedule to permit the depositions of these witnesses, and allowed
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                Plaintiffs to waste time preparing for the depositions, all while fully aware that the
14
                depositions were unlikely to ever take place because the witnesses are not willing to
15
                subject themselves to existing quarantine restrictions and China is very unlikely to lift
16
                the restrictions entirely.
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            •   Finally, Irico’s filed this Motion at the eleventh hour demanding a further six-month
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                extension of time even though it is unlikely to result in the depositions taking place, and
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                rejecting Plaintiffs’ reasonable request for some consequence for Irico if the witnesses
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                refuse to appear again.
21
                                             IV.   CONCLUSION
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            For all the foregoing reasons, the Court should deny Irico’s Motion because it fails to
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     demonstrate good cause to modify the scheduling order.
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                                                   Respectfully submitted,
25

26   Dated: July 14, 2022                            /s/ Mario N. Alioto
27                                                 Mario N. Alioto (56433)
                                                   Lauren C. Capurro (241151)
28
     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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     PLAINTIFFS’ OPPOSITION TO DEFENDANTS IRICO GROUP CORP. AND IRICO DISPLAY DEVICES CO.,
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